
MONCURE, P., and ANDERSON, J.,
dissented.
The decree was as follows:
This cause, which is pending in this court at its place of session at Staunton, having been fully heard but not determined at said place of "session, this day came here again the parties by their counsel, and the court, having maturely considered the transcript of the record of the decree aforesaid and the arguments of counsel, is of opinion, for reasons stated in ’^writing and filed with the record, that the said decree, except so much thereof as doth adjudge, order, and decree that the plaintiff, Daniel M. Harris (the appellant here), and the defendant, Sarah C. Harris (the appellee here), be and they are hereby divorced and absolved from the bonds of matrimony, and that the marriage between them be dissolved, is erroneous. It is therefore decreed and ordered, that the said decree, so far as the same is hereinbefore declared to be erroneous, be reversed and annulled, and the residue thereof be affirmed, and the court doth not award costs to either party; all of which is ordered to be certified to the said circuit court of Nelson county.
Decree reversed.
